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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

   MICHAEL E. GONIDAKIS, et al.,                :
                                                :
                 Plaintiff,                     :     Case No. 2:22-cv-0773
                                                :
          v.                                    :     Chief Judge Algenon L. Marbley
                                                :     Judge Amul R. Thapar
   OHIO REDISTRICTING                           :     Judge Benjamin J. Beaton
   COMMISSION, et al.,                          :
                                                :     Magistrate Judge Elizabeth P. Deavers
                 Defendants.                    :

                                      COURTROOM MINUTES
                                         65.1 Conference

    U.S. District Chief Judge Algenon L.             Date: March 30, 2022 @ 9:12 a.m.
    Marbley, Sixth Circuit Judge Amul R.
    Thapar, and District Judge Benjamin J.
    Beaton (WDKY)


    Deputy Clerk:      Denise Shane                  Counsel for Plaintiffs: Donald Brey, Matthew
                                                                             Aumann, Ryan Spitzer,
                                                                             Trista Turley
    Court Reporter:    Shawna Evans                  Counsel for              Michael Walton,
                                                     Defendants:              Jonathan Blanton
    Log In             n/a                           Log Out                  n/a

  Additional counsel in attendance:

  Percy Squire representing Intervenor Plaintiffs Kenneth L. Simon, Lewis Macklin, and Helen
  Youngblood.

  Donald McTigue and David Fox, Derek Clinger and Jyoti Jasrasaria representing Intervenor
  Plaintiffs Bria Bennett, Regina Adams, Kathleen Brinkman, Martha Clark, Susanne L. Dyke,
  Meryl Neiman, Holly Oyster, Constance Rubin, and Everett Totty.

  Christina Marshall representing Intervenor Plaintiff The Ohio Organizing Collaborative, Council
  on American-Islamic Relations, Ohio Environmental Council, Samuel Gresham, Jr., Ahmad
  Aboukar, Mikayla Lee, Prentiss Haney, Pierrette M. Talley, and Crystal Bryant.
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  Michael Walton and Jonathan Blanton, representing Defendant Frank LaRose.

  David J. Carey representing Intervenor Defendant League of Women Voters of Ohio and A.
  Philip Randolph Institute of Ohio.

  Benjamin Cooper and Matthew Wessler representing Intervenor Defendants Vernon Sykes and
  Allison Russo.

  Eric Clark, representing Ohio Redistricting Commission (the body).

  Phil Strach and Phillip Williamson representing Intervenor defendants Cupp & Huffman.

  Yurij Rudensky representing the Brennan Center.

  9:05am
  Mr. Brey enters Exhibits 1-15 and calls Amanda Grandjean
  Direct of Ms. Grandjean by Mr. Blanton
  Cross of Ms. Grandjean by Mr. Carey
  Cross of Ms. Grandjean by Mr. Fox
  Re-cross by Mr. Brey of Ms. Grandjean
  Recess for Lunch 12:30pm
  1:25 pm
  Mr. Brey calls Michael Gonidakis
  Plaintiffs rest
  Defendant rests
  Mr. Cooper calls Chris Glassburn, Sykes/Russo Ex #1, Sykes/Russo Ex #2, Sykes/Russo Ex #3
  (provisionally admitted)
  Cross of Glassburn by Mr. Brey
  Cross of Glassburn by Mr. Squire
  Redirect of Glassburn by Mr. Cooper
  Dr. Rodden called by Ms. Jasrasaria (Via Video)
  Cross of Dr. Rodden by Mr. Brey
  Declaration admitted by Fox
  Mikayla Lee called by Ms. Marshall
  Jeniece Brock called by Ms. Marshall
  Christopher Tavenor called by Ms. Marshall
  Michael Latner called by Ms. Marshall
  Plaintiff rests
  The court will take the Preliminary Injunction motion under advisement and is not going to
  intervene presently in the State Court proceedings. Opening briefs due by 4/6/22; Reply briefs
  4/11/22.
  Mr. Brey closing statement
  Mr. Blanton closing statement
  Mr. Carey closing statement
  Mr. Wessler closing statement
  Mr. Squire closing statement
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  Mr. Fox closing statement
  Ms. Marshall closing statement



  5:45pm
